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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                 )
                                          )
                     Plaintiff,           )
                                          )            8:99CR15
                                          )
                                          )               ORDER
STEPHEN W. CHILDS,                        )
                                          )
                     Defendant.           )


       Defendant Stephen W. Childs (Childs) appeared before the court on a Petition For
Warrant or Summons For Offender Under Supervision (Report) (Filing No. 135) on June
5, 2006.   Childs was represented by Assistant Federal Public Defender Michael F.
Maloney, and the government was represented by Assistant U.S. Attorney Kimberly C.
Bunjer. After being advised of the allegations of the Report, Childs requested a preliminary
examination on allegation No. 1 and No. 3. The court held an immediate hearing on such
allegations.
       The court heard the testimony of U.S. Probation Officer Drew Cromwell (Officer
Cromwell). Officer Cromwell testified he participated with other U.S. Probation Officers,
two Omaha Police officers and an ATF agent in a search of Childs' residence on May 31,
2006. The search followed a report that Childs had brandished a firearm at an individual
in Lincoln, Nebraska. A black powder pistol was found hanging in a bedroom closet which
Childs admitted belonged to him. Officer Cromwell also found a .12 gauge shotgun in a
closet at the top of open stairs leading to an open loft which was serving as a bedroom.
Officer Cromwell also found a .22 caliber rifle on the floor next to the bed. Later, in a
search of Childs' pickup outside of the residence, Officer Cromwell found six knives, one
machete-like with a length of over eighteen inches. Childs had a roommate, Daniel, at the
time, and Childs denied knowledge of shotgun or rifle. No further evidence was presented
by either side.
       Pursuant to Fed. R. Crim. P. 32.1, I find from the evidence presented there is
probable cause Childs has violated the terms of his supervised release as to each of the
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allegations contained in the Report, and Childs should be held to answer for a final
dispositional hearing before the Honorable Joseph F. Bataillon.
       The government moved for detention pending the dispositional hearing, and Childs
declined to present any additional evidence other than that presented during the preliminary
examination. I find that the defendant has failed to carry his burden to show that there is
a condition or a combination of conditions that would reasonably assure the defendant's
reasonably assure the safety of the community if he were released upon conditions. See
18 U.S.C. § 3143.
       IT IS ORDERED:
       1.     A final dispositional hearing will be held before the Honorable Joseph F.
Bataillon, Chief U.S. District Court Judge, in Courtroom Number 3, Third Floor, Roman L.
Hruska U.S. Courthouse, 111 South 18th Plaza, Omaha, Nebraska, at 8:30 a.m. on June
21, 2006. Defendant must be present in person.
       2.     Childs is committed to the custody of the Attorney General or his designated
representative for confinement in a correctional facility.
       3.     Childs shall be afforded a reasonable opportunity for private consultation with
defense counsel.
       4.     Upon order of a United States court or upon request of an attorney for the
government, the person in charge of the corrections facility shall deliver Childs to the United
States Marshal for the purpose of an appearance in connection with a court proceeding.
       DATED this 5th day of June, 2006.
                                                   BY THE COURT:
                                                   s/Thomas D. Thalken
                                                   United States Magistrate Judge
